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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LENWOOD HAMILTON,                             :
          Plaintiff,                           :
                                               :
              v.                               :            CIVIL ACTION
                                                            No. 2:17-cv-00169-AB
                                               :
 LESTER SPEIGHT, et al.,                       :
            Defendants.                        :

                                            Order

      AND NOW, this _10TH __ day of January,2019, Plaintiff’s Motion for Leave to File a

Third Amended Complaint (ECF No. 95) is:

      1. GRANTED as to Plaintiff’s request to withdraw his Lanham Act claim;

      2. DENIED as to Plaintiff’s request to add a claim for intentional nondisclosure; and

      3. DENIED as to Plaintiff’s request to revise the factual allegations in the complaint.



                                            s/Anita B. Brody

                                            ____________________________________
                                            ANITA B. BRODY, J.


Copies VIA ECF on 1/10/2019




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